                 Case 22-15694-SMG              Doc 39   Filed 09/02/22      Page 1 of 2



                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLOLRIA
                             Palm Beach Division

  DAREN C. DALY,                                          CASE NO.: 22-15694-SMG
     Debtor.                                              CHAPTER 11 (Sub V)

--------------------------------------------/
                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that C. DAVID TANGORA, ESQ. and the law firm of C. DAVID

TANGORA, P.A. as counsel for All Paving, Inc. and All Paving & Sealcoating, LLC, Patrick and

Elizabeth Daly, creditors in the above-captioned Chapter 11 case, and requests copies of all notices,

pleadings, or motions pursuant to Rules 2002, 9007 or 9008 of the Federal Rules of Bankruptcy

Procedure (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States

Bankruptcy Code, 11 U.S. C.§§ 101, et seq. (as amended, the Bankruptcy Code), including but not

limited to all Notices, Orders, Motions, Demands, Complaints, Petitions, Pleadings, Requests,

Applications, Schedules, Statements, and any other documents brought before the Court served in this

case, whether electronically or otherwise, on:

                                      C. DAVID TANGORA, ESQUIRE
                                         C. DAVID TANGORA, P.A.
                                            200 S.E. 18TH COURT
                                       FT. LAUDERDALE, FL 33316
                                             (954) 779-1005-Phone
                                              (954) 764-4502-Fax
                                          tangoralaw@bellsouth.net




                                                     1
               Case 22-15694-SMG           Doc 39      Filed 09/02/22         Page 2 of 2




                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Notice of Appearance and Request for


Notice was furnished by electronic means to the Attorney for the Debtor on September 2, 2022.


                                                       I HEREBY CERTIFY that I am admitted to the
                                                       Bar of the United States District Court
                                                       For the Southern District of Florida and I am
                                                       in compliance with the additional qualifications
                                                       to practice in this court as set forth in Local
                                                       Rule 2090-1(c)(3).

                                                       C. DAVID TANGORA, P.A.
                                                       Attorney for Creditors,
                                                       All Paving and Sealcoating, LLC
                                                       200 S.E. 18th Court
                                                       Ft. Lauderdale, FL 33316
                                                       (954) 779-1005-Phone
                                                       (954) 764-4502-Facsimile
                                                       tangoralaw@bellsouth.net

                                                       By: /s/ C. David Tangora, Esq.
                                                          C. David Tangora, Esquire
                                                          Florida Bar No: 522104




                                                   2
